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Approved:

            Assistant United States

Before:     THE HONORABLE ROBERT W. LEHRBURGER
            United States Magistrate Judge
            Southern District of New York

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                                             SEALED COMPLAINT
 UNITED STATES OF AMERICA
                                             Violations of 18 U.S.C.
                 - v.   -                    §§ 1343, 1349, and 2

                                                           ''·
 IBRAHIM MIZRAHI,                            COUNTY OF OFFEfNSE:
      a/k/a "Albert Mizrahi,"                NEW YORK
      a/k/a "Abraham Mizrahi,"

                 Defendant.

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SOUTHERN DISTRICT OF NEW YORK, ss.:

          JEREMY ROSENMAN, being duly sworn, deposes and says
that he is a Special Agent with the United States Attorney's
Office, Southern District of New York, and charges as follows:

                               COUNT ONE
                              (Wire Fraud)

          1.   From at least in or about April 2018, up to and
including in or about August 2018, in the Southern District of
New York and elsewhere, IBRAHIM MIZRAHI, a/k/a "Albert Mizrahi,"
a/k/a "Abraham Mizrahi," the defendant, willfully and knowingly,
having devised and intending to devise a scheme and artifice to
defraud, and for obtaining money and property by means of false
and fraudulent pretenses, representations, and promises, and
attempting to do so, transmitted and caused to be transmitted by
means of wire, radio, and television communication in interstate
and foreign commerce, writings, signs, signals, pictures, and
sounds for the purpose of executing such scheme and artifice, to
wit, MIZRAHI participated in a scheme to defraud, by telephone,
email, and wire transfers of funds, among other means and
methods, a factoring company ("Factoring Company-1"), which had
entered into a factoring agreement with an apparel company
("Apparel Company-1") owned and operated by MIZRAHI, by creating
and submitting invoices for factoring that were false,
fraudulent, and fictitious and did not reflect goods that had
been actually sold by Apparel Company-1 and, in furtherance of
that scheme, transmitted and caused to be transmitted the wire
transactions described below, and attempted to do so.

   (Title 18, United States Code, Sections 1343, 1349, and 2.)

          The bases for deponent's knowledge and for the
foregoing charges are, in part, as follows:

          2.   I am a Special Agent in the United States
Attorney's Office for the Southern District of New York (the
"USAO"), and I have been personally involved in the
investigation of this matter. I have been employed by the USAO
since 2016. I and other members of the investigative team have
experience in fraud investigations and techniques associated
with such investigations, including executing search warrants,
financial analysis, and working with informants.

          3.   This affidavit is based in part upon my own
observations, my conversations with other law enforcement agents
and others, my examination of documents and reports prepared by
others, my interviews of witnesses, and my training and
experience. Because this affidavit is being submitted for the
limited purpose of establishing probable cause, it does not
include all of the facts that I have learned during the course
of the investigation. Where the contents of documents, including
emails, and the actions, statements and conversations of others
are reported herein, they are reported in substance and in part,
except where specifically indicated otherwise.

     I.   RELEVANT DEFINITIONS, INDIVIDUALS, AND ENTITIES

                          A. Factoring

     4.   Based on my participation in this investigation,
including my review of publicly-available information, and my
training and experience, I have learned that "factoring" is a
financial transaction in which a business sells its accounts
receivable (invoices) to a third party (the factor). The factor
advances payment on the invoices to the business, minus the
factor's commission and other fees (such as interest) and then
collects, or attempts to collect, on the invoices from the
business's customers in due course. Factoring agreements are
entered into, among other reasons, to accelerate cash-flow for a
business to meet its short-term obligations.


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                        B. Factoring Company-1

          5.   Based on my participation in this investigation,
including my review of publicly available information, and my
conversations with employees of Factoring Company-1 as a part of
this investigation, I have learned that Factoring Company-1 is a
corporation based in New York, New York, that specializes in,
among other things, invoice factoring. Factoring Company-1 also
engages in additional short-term lending to its factoring
customers based on, among other things, its assessment of the
factoring customer's current unfilled purchase orders (i.e.,
expected future accounts receivable) .

                        C. Apparel Company-1

          6.   Based on my participation in this investigation,
including my review of publicly available information, I have
learned that Apparel Company-1 is a New York corporation based
in New York, New York, that sells women's lingerie and other
goods wholesale to retailers and invoices the retailer for those
goods.

           D. Ibrahim Mizrahi,  a/k/a "Albert Mizrahi,"
                        a/k/a "Abraham Mizrahi"

          7.   Based on my participation in this investigation,
including my review of publicly available information, I have
learned that IBRAHIM MIZRAHI, a/k/a "Albert Mizrahi," a/k/a
"Abraham Mizrahi," the defendant, is a principal of Apparel
Company-1, directed and controlled Apparel Company-1 at all
relevant times, and participated in creating and sending the
false, fraudulent, and fictitious purchase orders and invoices
to Factoring Company-1 as a part of the scheme described herein.

                 II •    THE FRAUDULENT SCHEME

          8.   As described in detail below, I have learned that
from at least in or about April 2018, up to and including at
least in or about August 2018, IBRAHIM MIZRAHI, a/k/a "Albert
Mizrahi," a/k/a "Abraham Mizrahi," the defendant, engaged in a
scheme in which he presented to Factoring Company-1 false,
fraudulent, and fictitious invoices and purchase orders that did
not reflect goods that had actually been ordered by Apparel
Company-l's customers or sold by Apparel Company-1. Factoring
Company-1 thus paid advances to Apparel Company-1 in reliance on
what MIZRAHI falsely represented were Apparel Company-l's


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accounts receivable and expected future accounts receivable.

          9.   Based on my review of Factoring Company-1
documents, documents from Apparel Company-l's customers, and
conversations with employees of Factoring Company-1 and Apparel
Company-l's customers, it appears that the attempted losses
associated with the fraudulent factoring scheme are
approximately $1,104,372.00.

            A. Apparel Company-l's Factoring Agreement
                       with Factoring Company-1

          10. Based on my knowledge and experience derived from
this investigation, my review of documents maintained by
Factoring Company-1, and my interviews of Factoring Company-1
employees, I have learned the following, in substance and in
part, about how Apparel Company-l's factoring agreement with
Factoring Company-1 generally worked:

               a.   In December 2015, Apparel Company-1 entered
into a factoring agreement with Factoring Company-1, in which
Apparel Company-1 agreed to sell all of its invoices to
Factoring Company-1, subject to Factoring Company-1 approving
each individual invoice based on, among other things, a credit
check of the applicable Apparel Company-1 customer to whom the
invoice was directed. The purchase price of each such invoice
was the amount of the invoice minus Factoring Company-l's
service fee.

                b.   Apparel Company-1 could request immediate
advancement of the value of each assigned invoice, which
advances could be issued in Factoring Company-l's discretion
based on, among other things, its assessment of Apparel Company-
1 's current creditworthiness. Such advances were typically
issued by wire transfer within a day of Factoring Company-l's
receipt of assigned invoices and the request for the advance.
Factoring Company-1 charged Apparel Company-1 interest on any
such advances. Factoring Company-1 would then collect on each
invoice from the applicable Apparel Company-1 customer in due
course (though it had the right to and did subcontract out the
actual collection duties as described below) . Monies collected
by Factoring Company-1 were credited to Apparel Company-l's
account to pay back the advances to Apparel Company-1 and the
interest thereon.

               c.   Factoring Company-1 separately entered into
a contractual agreement with another company ("Factoring


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Company-2") for collection services. Pursuant to this separate
agreement, which was expressly contemplated and permitted by
Factoring Company-l's factoring agreement with Apparel Company-
1, Factoring Company-1 would, in turn, assign to Factoring
Company-2 each invoice assigned to it by Apparel Company-1.
Factoring Company-2 would then handle the collection of payment
from the Apparel Company-1 customers to whom the invoices were
directed. Thus, Apparel Company-l's customers were instructed to
remit payment on Apparel Company-1 invoices directly to
Factoring Company-2.

            B. Apparel Company-1's False, Fraudulent,
                       and Fictitious Invoices

          11. Based on my knowledge and experience derived from
this investigation, my review of documents maintained by
Factoring Company-1, including communications from Factoring
Company-l's customers, and my interviews of employees of
Factoring Company-1, Factoring Company-2, and customers of
Apparel Company-1, I have learned the following, in substance
and in part:

               a.   From in or about April 2018, up to and
including August 2018, approximately 89 invoices transmitted by
IBRAHIM MIZRAHI, a/k/a "Albert Mizrahi," a/k/a "Abraham
Mizrahi," the defendant, to Factoring Company-1, against which
MIZRAHI requested and was paid advances by Factoring Company-1,
were false, fraudulent, and fictitious. These false, fraudulent,
and fictitipous invoices totaled approximately $1,104.372.00 and
resulted in advance payments to Apparel Company-1 from Factoring
Company-1 totaling approximately $1,093,000.00.

               b.   In particular, some of the invoices were
entirely fabricated, and some reflected goods that were never
shipped or for which the customer's order was subsequently
canceled. In addition, some of the invoices transmitted by
MIZRAHI to Factoring Company-1 (which on their face directed the
customer to remit payment to Factoring Company-2) differed from
the version of the invoice sent by Apparel Company-1 to the
customer, which version directed the customer to remit payment
directly to Apparel Company-1, thereby resulting in Apparel
Company-1 receiving two payments on the same invoice: one from
the customer directly and one advanced by Factoring Company-1.

               c.   As Factoring Company-2 attempted to collect
on these false, fraudulent, and fictitious invoices from the
applicable Apparel Company-1 customer, it recorded notes of the


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refusals and explanations provided by those customers. Those
notes, in which the customers identified the invoices as false,
fraudulent, and fictitious, are reflected in Factoring Company-
1' s files. In addition, upon learning of these issues from
Factoring Company-2, Factoring Company-1 contacted several of
the Apparel Company-1 customers directly to inquire about the
invoices and purchase orders in question. Those communications,
in which the customers identify the purchase orders and invoices
as false, fraudulent, and fictitious directly to Factoring
Company-1, are also reflected in Factoring Company-l's files.

         C. Example: May 17, 2018 Assignment of Invoices

          12. Based on my knowledge and experience derived from
this investigation, my review of documents maintained by
Factoring Company-1, and my conversations with Factoring
Company-1 employees, I have learned, in substance and in part,
the following regarding an example transmission of the false,
fraudulent, and fictitious invoices in furtherance of the scheme
to defraud described above:

               a.   On or about May 17, 2018, IBRAHIM MIZRAHI,
a/k/a "Albert Mizrahi," a/k/a "Abraham Mizrahi," the defendant,
sent an email to Factoring Company-1. Attached to the email were
three invoices, each directed to a different Apparel Company-1
customer, totaling $79,024.80 (the "May 17, 2018 Invoices") and
a cover sheet assigning the invoices to Factoring Company-1. The
Apparel Company-1 customers to whom these invoices were directed
are headquartered in Delaware, Florida, and South Carolina,
respectively. In the email, MIZRAHI requested an advance of
$65,000.00 against the May 17, 2018 Invoices, to be transmitted
as a wire transfer to Apparel Company-l's bank account at a bank
headquartered in New Jersey. To demonstrate creditworthiness,
MIZRAHI also attached to the email a set of purchase orders
totaling approximately $120,000 that MIZRAHI asserted in the
email were all the unfilled orders that Apparel Company-1 had
received from its customers.

               b.   On or about May 18, 2018, Factoring Company-
1 accepted the May 17, 2018 Invoices and, based on the invoices
and purchase orders attached to the email, issued the requested
advance by wiring $65,000.00 from Factoring Company-l's account
at a bank located in New York to Apparel Company-l's account at
a bank headquartered in New Jersey.

               c.   On or about May 31, 2018, Factoring Company-
1 assigned and transmitted the May 17, 2018 Invoices to


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Factoring Company-2 for collection.

               d.   Later, Factoring Company-2 reported to
Factoring Company-1 that each of the three customers to whom one
of the May 17, 2018 Invoices was directed had refused payment on
its respective invoice and contested the validity of such
invoice. Factoring Company-2 therefore declined to pay Factoring
Company-1 the agreed-upon purchase price for the May 17, 2018
Invoices pursuant to the re-factoring agreement between
Factoring Company-1 and Factoring Company-2.

               e.   In or around August 2018, at least one of
the companies to whom the May 17, 2018 Invoices were directed
confirmed directly to Factoring Company-1 in writing that the
invoice purportedly directed to it from Apparel Company-1 was
false, fraudulent, and fictitious.

                D. Scope of the Fraudulent Scheme

          13. Based on my knowledge and experience derived from
this investigation, my review of documents maintained by
Factoring Company-1, and my conversations with employees of
Factoring Company-1, Factoring Company-2, and customers of
Apparel Company-1, I have learned, in substance and in part,
that IBRAHIM MIZRAHI, a/k/a "Albert Mizrahi," a/k/a "Abraham
Mizrahi," the defendant, appears to have engaged in the above
fraudulent scheme using the same means and methods described
above regarding the May 17, 2018 Invoices with respect to
approximately 89 invoices transmitted on eleven different dates
and totaling approximately $1,104,372.00, none of which has been
collected from Apparel Company-l's customers. The transmittal of
these false, fraudulent, and fictitious purchase orders and
invoices induced Factoring Company-1 to issue eleven different
wire transfer advances to Apparel Company-1 totaling
approximately $1,080,000.00.

          14.   As described above, based on my knowledge and
experience derived from this investigation, my review of
documents maintained by Factoring Company-1, and my
conversations with employees of Factoring Company-1, I am aware
that in furtherance of the scheme to defraud described above,
IBRAHIM MIZRAHI, a/k/a "Albert Mizrahi," a/k/a "Abraham
Mizrahi," the defendant, transmitted and caused to be
transmitted numerous wire communications in interstate commerce
for the purpose of executing such scheme and artifice, including
but not limited to wire transfers from a bank headquartered in
New York to a bank headquartered in New Jersey, and the


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retransmission of false, fraudulent, and fictitious invoices
from Factoring Company-1 in New York to customers located in
Florida, Georgia, Pennsylvania, Texas, California, Delaware,
Rhode Island, South Carolina, and New Jersey.

          WHEREFORE, deponent respectfully requests that a
warrant be issued for the arrest of IBRAHIM MIZRAHI, a/k/a
"Albert Mizrahi,  a/k/a "Abraham Mizrahi,
                         /1
                                           the defendant, and
                                                /1



that he be arrested and imprisoned, or bailed, as the case may
be.




                                     Special Agent
                                     U.S. Attorney's Office,
                                     Southern District of New York



Sworn to before me this
8th day of: November, 2018
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THE HONORABLE ROBEF'r W. LEHRBURGER
UNITED STATES M..Zl..GISTRii..TE JUDGE
SOUTHERN DI.STRIC'r OF NEW YORK




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